           Case 1:21-cv-03034-LRS                     ECF No. 21      filed 11/10/21      PageID.1074 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                                    for thH_
                                                       Eastern District of Washington
                                                                                                              Nov 10, 2021
                           JASON W.,                                                                               SEAN F. MCAVOY, CLERK


                                                                      )
                             Plaintiff                                )
                                v.                                    )      Civil Action No. 1:21-CV-03034-LRS-1
                                                                      )
  KILOLO KIJAKAZI, ACTING COMMISSIONER OF                             )
              SOCIAL SECURITY,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendant’s Stipulated Motion for Remand, ECF No. 19 is GRANTED. Plaintiff’s Motion for Summary Judgment, ECF
u
              No. 16, and the hearing and remaining briefing schedule are VACATED as moot.
              This case is REVERSED and REMANDED for further administrative proceedings pursuant to sentence four of 42 U.S.C.
              § 405(g). Judgment entered for Plaintiff.


This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                               Lonny R. Suko                                 on a stipulated motion for remand.




Date:      11/10/2021                                                      CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                             Mishani Jack-Gonzalez
                                                                                           %\ Deputy Clerk

                                                                             Mishani Jack-Gonzalez
